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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------- x
PHYTO TECH CORP. d/b/a/ BLUE CALIFORNIA,            :
                                                    :
                              Plaintiff,            :                      C.A. No. 19-cv-09033
                                                    :
v.                                                  :
                                                    :
                                                    :
GIVAUDAN SA,                                        :
                                                    :
                              Defendant.            :
                                                    :
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              PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIM

       Plaintiff Phyto Tech Corp. d/b/a/ Blue California (“Blue Cal” or “Plaintiff”) hereby sets

forth its Answer to the Counterclaim of Defendant Givaudan SA (“Givaudan” or “Defendant”)

as follows:

                                  NATURE OF THE ACTION

    42.         Plaintiff admits that Exhibit A purports to be a copy of the BGN LLC Agreement.

Plaintiff further admits that Blue Cal and Givaudan are parties to the BGN LLC Agreement,

dated February 21, 2014, and that Blue Cal and Givaudan are the members of BGN.

    43.         Plaintiff admits the allegations of Paragraph 43.

    44.         Plaintiff admits the allegations of Paragraph 44.

    45.         Plaintiff admits that, by letter dated October 28, 2018, Givaudan gave notice of

dissolution of BGN. Except as expressly admitted, Plaintiff denies the remaining allegations of

Paragraph 45.

    46.         Plaintiff admits the allegations of Paragraph 46.
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    47.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 47.

    48.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 48.

    49.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 49.

    50.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 50.

    51.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 51.

    52.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 52.

    53.        Plaintiff denies the allegations of Paragraph 53.

    54.        Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 54

    55.        Paragraph 55 states legal conclusions to which no response is required. To the

extent a response is required, Plaintiff admits the allegations of Paragraph 55.

    56.        Paragraph 56 states legal conclusions to which no response is required. To the

extent a response is required. Plaintiff denies the allegations of Paragraph 56.

    57.        Paragraph 57 states legal conclusions to which no response is required. To the

extent a response is required. Plaintiff denies the allegations of Paragraph 57.

    58.        Plaintiff denies the allegations of Paragraph 58.




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    59.         Plaintiff is without sufficient knowledge to admit or deny the allegations of

Paragraph 59, and thus denies them.

    60.         Plaintiff admits that Mr. Steven Chen sent an email on October 2, 2019 and that

that email contained the quoted language. Except as expressly admitted, Plaintiff denies the

remaining characterizations and allegations of Paragraph 60.

    61.         Plaintiff admits that counsel for Defendant sent counsel for Plaintiff an email on

October 16, 2019 relating to the BGN LLC Agreement and states that that email speaks for itself.

Except as expressly admitted, Plaintiff denies the remaining characterizations and allegations of

Paragraph 61.

    62.         Plaintiff denies the allegations of Paragraph 62.

                          DEFENDANT’S FIRST COUNTERCLAIM
                               BREACH OF CONTRACT

    63.         Plaintiff incorporates by reference its responses to each of the preceding

paragraphs. Except as expressly admitted above, Plaintiff denies any remaining allegations of

the preceding paragraphs as if fully set forth herein.

    64.         Paragraph 64 states legal conclusions to which no answer is required. To the

extent an answer is required, Plaintiff denies the allegations of Paragraph 64.

    65.         Plaintiff states that the BGN LLC Agreement speaks for itself. Plaintiff denies

the remaining characterizations and allegations of Paragraph 65.

    66.         Plaintiff denies the allegations of Paragraph 66.

    67.         Plaintiff denies the allegations of Paragraph 67.

    68.         Plaintiff denies the allegations of Paragraph 68.

    69.         Plaintiff denies the allegations of Paragraph 69.

                                  AFFIRMATIVE DEFENSES



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                                      First Affirmative Defense

       Defendant’s Counterclaim fails to state a claim upon which relief can be granted.

                                     Second Affirmative Defense

       Plaintiff has fully performed any and all contractual, statutory, and other duties owed to

Defendant.

                                     Third Affirmative Defense

       Defendant has waived any claim against Plaintiff because Defendant has breached the

BGN LLC Agreement, and Defendant is therefore estopped from bringing its counterclaim.

                                     Fourth Affirmative Defense

       Defendant’s claim is barred against Plaintiff because Defendant has breached the

covenant of good faith and fair dealing.

                                      Fifth Affirmative Defense

       Defendant’s claims are barred against Plaintiff by the doctrine of unclean hands.

                                      Sixth Affirmative Defense

       Defendant’s claim is barred against Plaintiff because Defendant has failed to comply with

its obligations under the BGN LLC Agreement to timely and properly to exhaust all necessary

prerequisites to assert the claim.

                                     Seventh Affirmative Defense

       Defendant’s claims are barred against Plaintiff because Defendant does not have standing

to assert the claim as alleged.

                                     Eighth Affirmative Defense

       Defendant’s claims are barred against Plaintiff by the doctrine of in pari delicto.

                                      Ninth Affirmative Defense




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        Defendant’s claims are barred because no act or omission by Plaintiff, or by any person

or entity for which Plaintiff was responsible, was the cause of any injury in fact, damages, or loss

of money or property alleged by Defendant.

                                     Tenth Affirmative Defense

        Defendant’s claims are barred because no act or omission by Plaintiff, or by any person

or entity for which Plaintiff was responsible, was the proximate cause of any injury or harm

alleged by Defendant.

                                   Eleventh Affirmative Defense

        Defendant’s claims are barred against Plaintiff because Defendant has failed to engage in

arbitration of its claims as required by the BGN LLC Agreement.

                                    Twelfth Affirmative Defense

        Defendant’s claims are barred against Plaintiff due to failure of consideration.

                                      PRAYER FOR RELIEF

        Plaintiff denies all remaining allegations not expressly admitted or responded to herein.

Plaintiff further denies that Defendant is entitled to the relief requested, or to any relief

whatsoever. Plaintiff prays for relief as follows:

        A.       Entry of judgment in favor of Plaintiff and against Defendant with respect to

Defendant’s Counterclaim;

        B.       Dismissal of Defendant’s Counterclaim with prejudice;

        C.       An award to Plaintiff of its attorneys’ fees, costs, and expenses; and




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       D.     Such other relief as the Court deems equitable and just.

DATED: February 14, 2020
                                                    /s/ Katherine A. Helm

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